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                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


   In re:                                Chapter 11

   Crave Brands LLC, et al.,             Bankruptcy Nos. 21-04729 and
                                         21-04731
                      Debtors.           (Jointly Administered)

                                         Honorable Timothy A. Barnes

                            NOTICE OF HEARING
         Please take notice that on Monday, January 24, 2022, at 1:00
  P.M., or as soon thereafter as counsel may be heard, the undersigned
  attorneys shall appear before the Honorable Judge Timothy A. Barnes, or
  any judge sitting in that judge’s place, and present Reorganized Debtors’
  Motion to Modify Claim No. 21 of DTAT Enterprises, Inc., a copy of which
  is attached.
         This objection will be presented and heard electronically
  using Zoom for Government. No personal appearance is necessary or
  permitted. To appear and be heard on the motion, you must do the
  following:
        To appear by video, use this link: https://www.zoomgov.com/.
  Then enter the meeting ID and password.
        To appear by telephone, call Zoom for Government at 1-669-254-
  5252 or 1-646-828-7666. Then enter the meeting ID and password.
         Meeting ID and password. The meeting ID for this hearing is 161
  329 5276 and the password is 433658. The meeting ID and password can
  also be found on the judge’s page on the court’s web site.
        If you object to this motion and want it called on the presentment
  date above, you must file a Notice of Objection no later than two (2)
  business days before that date. If a Notice of Objection is timely filed, the
  motion will be called on the presentment date. If no Notice of Objection is
  timely filed, the court may grant the motion in advance without a hearing.




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  Dated: December 20, 2021              Meathead Restaurants LLC



                                        By: /s/ Adam Goodman
                                        One of its Attorneys
  Adam Goodman (ARDC #6229333)
  Shu-Yu Lin (BAR ID #5782388)
  GOODMAN TOVROV HARDY
      & JOHNSON LLC
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                           CERTIFICATE OF SERVICE
         I, Adam Goodman, an attorney, hereby certify that on December 20,
  2021, pursuant to Section II.B.4 of the Administrative Procedures for the
  Case Management/Electronic Case Filing System and Fed.R.Civ.P. 5(a), I
  caused a copy of the foregoing Notice of Hearing and the accompanying
  Document to be served electronically through the Court’s Electronic Notice
  for Registrants on all persons identified as Registrants on the attached
  Service List and by U.S. mail on all other persons identified as Non-
  Registrants on the below Service List.

                                                /s/ Adam Goodman

                                  SERVICE LIST

  Registrants
  (Service via ECF)

  Matthew Brash                    mbrash@newpointadvisors.us;
                                   I003@ecfcbis.com
  Jason Enright                    jenright@winstead.com
  William J Factor                 wfactor@wfactorlaw.com;
                                   wfactorlaw@gmail.com;
                                   bharlow@wfactorlaw.com;
                                   wfactor@ecf.inforuptcy.com;
                                   wfactormyecfmail@gmail.com;
                                   factorwr43923@notify.bestcase.com
  Matthew T. Gensburg              MGensburg@gcklegal.com
  E. Philip Groben                 pgroben@gcklegal.com;
                                   bcervantes@gcklegal.com;
                                   rrodriguez@gcklegal.com
  Brian Hockett                    bhockett@thompsoncoburn.com;
                                   hspurgeon@thompsoncoburn.com
  Gregory J Jordan                 gjordan@jz-llc.com;
                                   jordan.gregoryr99818@notify.bestcase.com
  Patrick S Layng                  USTPRegion11.ES.ECF@usdoj.gov
  David A. Newby                   dnewby@momkus.com;
                                   lholub@momkus.com
  Lauren Newman                    lnewman@thompsoncoburn.com;
                                   chicagodocketing@thompsoncoburn.com;
                                   aversis@thompsoncoburn.com;
                                   ebarraza@thompsoncoburn.com



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  Jeffrey K. Paulsen                jpaulsen@wfactorlaw.com;
                                    bharlow@wfactorlaw.com;
                                    jpaulsen@ecf.inforuptcy.com
  Konstantine T. Sparagis           gsparagi@yahoo.com;
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  David A Warfield                  dwarfield@thompsoncoburn.com
  Brian P Welch                     bwelch@burkelaw.com;
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                                    gbalderas@burkelaw.com;
                                    bwelch@burkelaw.com;
                                    welchdr67393@notify.bestcase.com
  Mark R Zito                       mzito@jz-llc.com

  Non-Registrants
  (Service via U.S. Mail)

   Crave Brands, LLC                   Meathead Restaurants, LLC
   c/o Robert Handler, Manager         c/o Robert Handler, Manager
   205 W. Wacker Drive, Suite 918      205 W. Wacker Drive, Suite 918
   Chicago, IL 60606                   Chicago, IL 60606

   DTAT Enterprises, Inc.
   Attorney Daniel Brown
   819 Sherman
   Danville, IL 61832




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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


   In re:                                  Chapter 11

   Crave Brands LLC, et al.,               Bankruptcy Nos. 21-04729 and
                                           21-04731
                         Debtors.          (Jointly Administered)

                                           Honorable Timothy A. Barnes

                REORGANIZED DEBTORS’ MOTION TO MODIFY
            LANDLORD CLAIM NO. 21 FILED BY DTAT ENTERPRISES, INC.
         Pursuant to 11 U.S.C. § 502 and Rule 3007 of the Federal Rules of

  Bankruptcy Procedure, Crave Brands LLC (“Crave”) and Meathead

  Restaurants LLC (“MHR”), as the Reorganized Debtors in the captioned

  proceeding, request the entry of an Order modifying Claim No. 21 filed by

  DTAT Enterprises, Inc. (“Claimant”), to take account of the assumption of

  the subject lease under the Debtors’ Second Amended Joint Plan of

  Reorganization (the “Plan”). In support of the requested relief, MHR and

  Crave (the “Reorganized Debtors”) respectfully state and alleges as

  follows:


                                    JURISDICTION
         1.    This Court has jurisdiction over this Objection pursuant to 28

  U.S.C. §§ 157 and 1334, and Local Rule 40.3.1(a) of the United States

  District Court for the Northern District of Illinois.




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         2.    Venue of the above-captioned cases (the “Cases”) and of this

  Objection is proper in this Judicial District pursuant to 28 U.S.C. §§ 1408

  and 1409. This matter is a core proceeding within the meaning of 28 U.S.C.

  §§ 157(b)(1) and (b)(2)(A) and (O).


                                   DISCUSSION
         3.    MHR and Craved filed voluntary petitions for relief under

  chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq.

  (the “Bankruptcy Code”), on April 9, 2021 (the “Petition Date”) thereby

  initiating the Cases.

         4.    On April 12, 2021, Meathead Restaurants, LLC filed a Motion for

  Joint Administration (the “Motion”) and the Motion was granted on April

  13, 2021 [Dkt. No. 11].

         5.    On June 29, 2021, Claimant filed proof of claim no. 21 with the

  Clerk of the Court asserting an unsecured claim of $92,464.00 (the “POC”),

  on account of a lease of real property between MHR and Claimant. A copy

  of the POC is appended as Exhibit 1.

         6.    On November 29, 2021, the Court entered an Order confirming

  the Debtors’ Second Amended Joint Plan of Reorganization. MHR and

  Crave are operating as the Reorganized Debtors.




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         7.    As part of the confirmation of the Plan, the Reorganized Debtors

  assumed the lease with Claimant and agreed to pay the cure amount in

  accordance with the Plan.

         8.    The Reorganized Debtors thus request an order in the form of

  that appended hereto modifying the POC to provide that Claimant shall

  receive the treatment provided to Claimant as the holder of an assumed

  lease under the Plan and that the treatment under the Plan shall be

  controlling with respect to any amounts owed to Claimant.

               WHEREFORE, each of the Reorganized Debtors respectfully

  request that the Court enter an order in the form of that appended hereto

  amending Claim No. 21 in the manner set forth herein, and issuing such

  other relief as this Court may deem just and proper.


  Dated: December 20, 2021                  Meathead Restaurants LLC

                                            By: /s/ Adam Goodman
                                            One of its attorneys
  Adam Goodman (ARDC #6229333)
  Shu-Yu Lin (BAR ID #5782388)
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      & JOHNSON LLC
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